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                                 UNPUBLISHED

                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT


                                    No. 18-1633


JANICE WOLK GRENADIER,

                        Plaintiff - Appellant,

            v.

REBECCA BEACH SMITH, Chief Judge Honorable; LEONIE M. BRINKEMA,
Judge; GERALD BRUCE LEE, Judge; LIAM O’GRADY, Judge; ANTHONY J.
TRENGA, Judge; JAMES C. CACHERIS, Senior Judge; CLAUDE M. HILTON,
Senior Judge; T.S. ELLIS, III, Senior Judge; THERESA C. BUCHANAN,
Magistrate Judge; JOHN F. ANDERSON, Magistrate Judge; IVAN D. DAVIS,
Magistrate Judge; MICHAEL NACHMANOFF, Magistrate Judge; T. RAWLES
JONES, JR., Magistrate Judge; ROGER L. GREGORY, Chief Judge; J. HARVIE
WILKINSON, III, Judge; PAUL V. NIEMEYER, Judge; DIANA GRIBBON
MOTZ, Judge; WILLIAM B. TRAXLER, JR., Judge; ROBERT B. KING, Judge;
DENNIS W. SHEDD, Judge; ALLYSON K. DUNCAN, Judge; G. STEVEN
AGEE, Judge; BARBARA MILANO KEENAN, Judge; JAMES A WYNN, JR.,
Judge; ALBERT DIAZ, Judge; HENRY F. FLOYD, Judge; STEPHANIE D.
THACKER, Judge; PAMELA A. HARRIS, Judge; CLYDE H. HAMILTON,
Senior Judge; ANDRE M. DAVIS, Senior Judge; BERYL A. HOWELL, Chief
Judge; EMMET G. SULLIVAN, District Judge; JAMES E. BOASBERG, District
Judge; AMY BERMAN JACKSON, District Judge; RUDOLPH CONTRERAS,
District Judge; ROYCE C. LAMBERTH, Senior Judge; ELLEN S. HUVELLE,
Senior Judge; REGGIE B. WALTON, Senior Judge; RICHARD J. LEON, Senior
Judge; ROSEMARY M. COLLYER, Senior Judge; MERRICK B. GARLAND,
Chief Judge; BRIAN KENNEY, Judge; STEPHEN MITCHELL, Judge;
JANE/JOHN DOES, 1-100; Defendants all Public Servants, individually and in
his or her official capacity as a Federal Judge an Officer of the Court,

                  Defendants - Appellees.
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Appeal from the United States District Court for the Eastern District of Virginia, at
Alexandria. Henry E. Hudson, Senior District Judge. (1:17-cv-01106-HEH)


Submitted: November 7, 2018                                 Decided: November 21, 2018


Before RICHARDSON and QUATTLEBAUM, Circuit Judges. *


Affirmed by unpublished per curiam opinion.


Janice Wolk Grenadier, Appellant Pro Se.


Unpublished opinions are not binding precedent in this circuit.




      *
          This opinion is filed by a quorum of the panel pursuant to 28 U.S.C. § 46(d)
(2012).



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PER CURIAM:

      Janice Wolk Grenadier appeals the district court’s order denying her

post-judgment motions. We have reviewed the record and agree with the district court

that it lacked the authority to grant the requested relief. Accordingly, we affirm. We

dispense with oral argument because the facts and legal contentions are adequately

presented in the materials before this court and argument would not aid the decisional

process.

                                                                          AFFIRMED




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